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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


   REBECCA GEMMER,

                        Plaintiff,

                   v.

   TEVA PHARMACEUTICALS USA, INC.;                     Case No.:
   TEVA WOMEN’S HEALTH, INC. d/b/a
   TEVA WOMEN’S HEALTH, LLC;
   TEVA WOMEN’S HEALTH, LLC;                           JURY TRIAL DEMANDED
   THE COOPER COMPANIES, INC.; and
   COOPERSURGICAL, INC.,
                     Defendants.


                                     COMPLAINT FOR DAMAGES

         COMES NOW Plaintiff, Rebecca Gemmer, by and through her counsel, files this
  Complaint against Defendants Teva Pharmaceuticals USA, Inc., Teva Women’s Health, Inc. doing
  business as Teva Women’s Health, LLC, Teva Women’s Health, LLC, The Cooper Companies,
  Inc., and Cooper Surgical, Inc. (collectively hereinafter “Defendants”), both jointly and severally,
  as the companies and/or successors in interest to the companies that designed, developed,
  manufactured, tested, labeled, packaged, distributed, marketed and/or sold ParaGard Intrauterine
  medical device that was implanted into Plaintiff, and throughout the United States. Accordingly,
  Plaintiff alleges and states as follows:
   I.    INTRODUCTION
         1.      This is an action for damages relating to the Defendants’ design, manufacture,
  surveillance, sale, marketing, advertising, promotion, labeling, packaging, and distribution of
  ParaGard Intrauterine medical device (hereinafter “ParaGard IUD”).
         2.      ParaGard IUD is an intrauterine device, however, it is regulated as a drug. It is
  placed into the uterus to prevent conception.
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          3.      ParaGard IUD has a propensity to break at the arms upon explant resulting in
  serious injuries.
          4.      Plaintiff used ParaGard IUD, and as a result of its use suffered injuries.
   II.    GENERAL ALLEGATIONS
          5.      Plaintiff, Rebecca Gemmer (“Plaintiff”), by and through Plaintiff’s attorneys,
  Sanders Phillips Grossman, LLC., brings this action for personal injuries suffered as a result of
  using the defective and dangerous ParaGard IUD.
          6.      ParaGard IUD is prescribed to prevent conception, and at all times relevant hereto,
  were manufactured, designed, tested, packaged, labeled, marketed, advertised, promoted,
  distributed, and sold by Defendants. On information and belief, Plaintiff used ParaGard IUD
  resulting in injuries.
   III.   PARTIES
          7.      At all times relevant to this action, Plaintiff, was an individual, citizen and resident
  of the state of Colorado.
          8.      Plaintiff was implanted with ParaGard IUD in 2009. It was removed in 2019,
  resulting in injuries.
          9.      Defendant Teva Pharmaceuticals USA, Inc. (hereinafter “Teva Pharmaceuticals”
  or “Teva USA”) is a Delaware corporation with its principal place of business in Parsippany, New
  Jersey. At times relevant to this action, Teva USA designed, developed, manufactured and
  marketed ParaGard IUD at issue. At times relevant to this action, Teva USA communicated with
  the United States Department of Health and Human Services, Food and Drug Administration
  (hereinafter “FDA”) regarding the sale, use, and safety concerns related to ParaGard IUDs, which
  includes managing product recalls, investigating adverse events from ParaGard IUD users, and
  performing mandatory reporting to FDA regarding ParaGard IUD.
          10.     At times relevant to this action, Teva USA was involved in regulatory
  communications, and medical communications, including but not limited to communications with
  physicians, doctors, the FDA and other medical personnel, which led to activities giving rise to
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  failure to warn, negligence, gross negligence, common law fraud, negligent misrepresentation,
  breach of warranty, and a violation of consumer protection laws.
           11.   Defendant Teva Women’s Health, Inc., is a Delaware corporation with
  headquarters located at 425 Privet Rd., in Horsham, Pennsylvania and is and/or was a wholly
  owned subsidiary of Teva USA, and/or operated as a successor-in-interest to Duramed
  Pharmaceuticals, Inc., a division of Barr Pharmaceuticals, Inc., and/or assumed Duramed
  Pharmaceuticals, Inc., a division of Barr Pharmaceuticals, Inc., in a name change after its
  acquisition by Teva USA. Teva Women’s Health, Inc. converted into Teva Women’s Health, LLC
  in 2017 and continues to operate as Teva Women’s Health, LLC. At times relevant to this action,
  Teva Women’s Health, Inc. designed, developed, manufactured and marketed ParaGard IUD at
  issue.
           12.   Defendant Teva Women’s Health, LLC is a Delaware limited liability company
  with headquarters located at 425 Privet Rd., in Horsham, Pennsylvania and is and/or was a wholly
  owned subsidiary of Defendants Teva USA. Teva Women’s Health’s sole member is Barr
  Pharmaceuticals, LLC, formed under Delaware law with its principal place of business in New
  Jersey, and the sole member of Barr Pharmaceuticals, LLC, is Teva USA. For diversity purposes,
  TWH, LLC, is a citizen of Delaware and New Jersey. Teva Women’s Health, LLC is the product
  of an entity conversion pursuant to Del. Code Ann. Tit. 8, 266. Teva Women’s Health, Inc.,
  converted into Teva Women’s Health, LLC and continues to operate as a limited liability company
  instead of an incorporation (Teva Women’s Health, LLC formerly known as Teva Women’s
  Health, Inc. collectively hereinafter “Teva Women’s Health”).
           13.   Accordingly, Duramed Pharmaceuticals, Inc., a division of Barr Pharmaceuticals,
  Inc., d/b/a Teva Women’s Health Inc., (hereinafter “Duramed”), acquired FEI Women’s Health in
  2005 wherein the asset of ParaGard IUD was acquired in the deal. Duramed was acquired by Teva
  USA in 2008 wherein its name was changed to Teva Women’s Health, Inc., a wholly-owned
  subsidiary of Teva USA (Defendants Teva USA and Teva Women’s Health collectively
  hereinafter “Teva Defendants”).
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         14.       Defendant The Cooper Companies, Inc., (hereinafter “Cooper Companies”) is a
  Delaware corporation with headquarters at 6140 Stoneridge Mall Rd., in Pleasanton, California.
  Cooper Companies purchased assets and global rights and business of ParaGard IUD in September
  2017 for $1.1 Billion, including their manufacturing facility in Buffalo, New York.
         15.       Defendant CooperSurgical, Inc., (hereinafter “Cooper Surgical”) is a Delaware
  corporation with headquarters at 95 Corporate Dr. in Trumbull, Connecticut and a subsidiary of
  Defendant Cooper Companies (Defendants Cooper Companies and CooperSurgical collectively
  hereinafter “Cooper Defendants”).
         16.       At all times relevant hereto and alleged herein, the Defendants conducted and
  continues to conduct substantial business within the state of Colorado, and within the District of
  Colorado.
         17.       At times relevant hereto and alleged herein, the Defendants conducted and
  continues to regularly conduct substantial business within the state of Colorado, which included
  and continues to include, the research, safety surveillance, manufacture, sale, distribution and
  marketing of ParaGard IUD, which is distributed through the stream of interstate commerce into
  the state of Colorado, and within the District of Colorado,
         18.       At all relevant times, each Defendant acted in all aspects as the agent and alter ego
  of each other.
         19.       The Cooper Defendants are liable as successors-in-interest under the Colorado
  Uniform Fraudulent Transfer Act, C.R.S.A. § 38-8-101, et. seq., any other state or federal
  successor in interest acts or statutes; and the Federal Consumer Protection Act pursuant to a
  fraudulent conveyance or transfer of assets.
         20.       Upon reasonable belief, Duramed became Teva Women’s Health, Inc., through a
  name change in 2008. Teva Women’s Health, Inc., then became Teva Women’s Health, LLC
  through a conversion in 2017. Teva Women’s Health, LLC then sold all of its assets including
  ParaGard IUD to the Cooper Defendants in 2017. Teva Women’s Health, LLC became a holdings
  company with no tangible assets.
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         21.     The Cooper Defendants knew or should have known that the transfer and
  conversion of Teva Women’s Health, Inc, was intended to thwart potential creditors from having
  a claim against Teva Women’s Heath, Inc. or Teva Women’s Health, LLC. Therefore, the Cooper
  Defendants are liable pursuant to the Federal Consumer Protection Acts and the Colorado Uniform
  Fraudulent Transfer Act, C.R.S.A. § 38-8-101, et. seq.
         22.     The liability of these companies has passed on through various business
  instruments and now lies with both the Teva Defendants and the Cooper Defendants.
         23.     At times relevant and material hereto, Defendants were engaged in the business of,
  or were successors-in-interest to entities engaged in the business of, researching, developing,
  designing, formulating, licensing, manufacturing, testing, producing, processing, assembling,
  packaging, inspecting, distributing, selling, labeling, monitoring, marketing, promoting,
  advertising, and/or introducing into interstate commerce throughout the United States, and in the
  state of Colorado, and within the District of Colorado, either directly or indirectly, through third-
  parties, subsidiaries and/or related entities, ParaGard IUD, a drug used in the prevention of
  pregnancy, implanted in patients throughout the United States, including Plaintiff.
         24.     At all times alleged herein, Defendants were authorized to conduct or engage in
  business within the state of Colorado and supplied ParaGard IUD within the state of Colorado and
  the District of Colorado. Defendants received financial benefit and profits as a result of designing,
  manufacturing, marketing, advertising, selling and distributing ParaGard IUD within the state of
  Colorado, and the District of Colorado.
         25.     The combined acts and/or omissions of each Defendant resulted in indivisible
  injuries to Plaintiff.   Each of the above-named Defendants is a joint tortfeasor and/or co-
  conspirator and is jointly and severally liable to Plaintiff for the negligent acts and omissions
  alleged herein. Each of the above-named Defendants directed, authorized or ratified the conduct
  of each and every other Defendant.
         26.     The amount in controversy exceeds the jurisdictional limits of this court.
   IV.   JURISDICTION AND VENUE
         27.     Plaintiff incorporates by reference all of the above paragraphs.
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          28.     Jurisdiction is proper in this court pursuant to 28 U.S.C. § 1332 as complete
  diversity of citizenship exists between Plaintiff and Defendants and the matter in controversy
  exceeds the sum of $75,000.00, exclusive of interest and costs.
          29.     This Court has jurisdiction over the non-resident Defendants because they have
  conducted business in the state of Colorado. Defendants have committed a tort in whole or in part
  in the state of Colorado and have regular and continuing contacts with Colorado.
          30.     In addition, venue of this case is proper in the state of Colorado pursuant to 28
  U.S.C. § 1391 because a substantial part of the events giving rise to Plaintiff’s claims occurred in
  the District of Colorado.
   V.     FACTUAL ALLEGATIONS
          31.     ParaGard IUD is an intrauterine drug that can provide long term birth control, up
  to 10 years, without hormones.
          32.     ParaGard IUD drug is a T-shaped plastic frame made of polyethylene and barium
  sulfate that is inserted into the uterus.    Copper wire coiled around the IUD produces an
  inflammatory reaction that is toxic to sperm and egg. A monofilament polyethylene thread is tied
  through the tip, resulting in two white threads, which aid in the detection and removal of the drug.
          33.     ParaGard IUD has a propensity to break at the arms upon explant resulting in
  serious injuries.
          34.     At relevant times, Teva Defendants designed, researched, manufactured, labeled,
  packaged, promoted, marketed and/or sold ParaGard IUD at issue after receiving New Drug
  Application approval from FDA.
          35.     In 2008, Teva USA became the owner of ParaGard IUD when it acquired Duramed
  Pharmaceuticals, Inc., a division of Barr Pharmaceuticals, Inc., through its purchase of Barr
  Pharmaceuticals, Inc.
          36.     Upon information and belief, when Teva USA acquired Duramed, a division of
  Barr Pharmaceuticals, Inc., it also acquired Duramed’s manufacturing facilities, sales force and
  responsibility for maintaining and updating the labeling for ParaGard IUD.
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         37.     Shortly thereafter, Teva USA changed the name of Duramed Pharmaceuticals, Inc.,
  a division of Barr Pharmaceuticals, Inc., to Teva Women’s Health, Inc., a wholly owned subsidiary
  of Teva USA.
         38.     On August 31, 2009, Duramed Pharmaceuticals, Inc., filed with the Ohio Secretary
  of State a Certificate of Amendment to Foreign Corporation Application For License requesting a
  name change. A new entity was not created, and no entities were dissolved. Duramed’s license
  number did not change. Instead, Duramed changed its name to Teva Women’s Health, Inc.
         39.     Upon information and belief, Teva Women’s Health, Inc. is simply a new name for
  Duramed.
         40.     Upon information and belief, and for purposes of liability and interest, Teva
  Women’s Health, Inc., is the same entity as Teva Women’s Health, LLC. Teva Women’s Health,
  Inc., converted into Teva Women’s Health, LLC under the laws of Delaware. Del. Code Ann. Tit.
  8, 266. Pursuant to Del. Code Ann. Tit. 8, 266, a company that converts from one entity into
  another is deemed to be a continuation of the preexisting company. A conversion does not equate
  to a dissolution and no winding up takes place. Therefore, Teva Women’s Health, Inc., did not
  dissolve, windup, or cease to exist and liability continues from the corporation to the Limited
  Liability Company.
         41.     Upon information and belief on August 11, 2017, Teva Women’s Health, Inc.,
  converted into Teva Women’s Heath, LLC and sold off all of its assets.
         42.     On September 11, 2017, Teva Defendants sold ParaGard IUD to Cooper
  Defendants.
         43.     ParaGard IUD is currently sold only in the U.S. and had earned revenues of
  approximately $168 million for the twelve-month period ending June 30, 2017.
         44.     The Cooper Defendants still manufacture and sell ParaGard IUD in the U.S.
         45.     ParaGard IUD was marketed heavily by Defendants as being safe and effective,
  and promising fewer side effects than other birth control methods.
         46.     The marketing and promotional efforts of Defendants, their advertisers, and sales
  force served to overstate the benefits of ParaGard IUD and minimize and downplay the risks.
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  These promotional efforts were made while Defendants fraudulently withheld important safety
  information from health care providers and the public.
         47.     Prior to Plaintiff being implanted with ParaGard IUD, Defendants knew and should
  have known that the drug was defective and unreasonably dangerous.
         48.     Defendants knew or should have known that ParaGard IUD can and does cause
  serious harm to individuals who use it, due to the risk of ParaGard IUD’s arm breaking upon
  removal.
         49.     Defendants knew of these risks from the trials they performed, their post-marketing
  experience and complaints, third party studies, and their own analysis of these studies, but took no
  action to adequately warn or remedy the defects and instead concealed, suppressed and failed to
  disclose or fix this danger.
         50.     The product warnings for ParaGard IUD were vague, incomplete or otherwise
  wholly inadequate to alert prescribing physicians and patients to the actual risks associated with
  ParaGard IUD.
         51.     Defendants’ marketing and promotion, through its own website, sought to reassure
  physicians and patients of Defendants’ longstanding record of quality and safety assurance.
         52.     Based upon these representations, upon which Plaintiff and her physician relied,
  Plaintiff had ParaGard IUD implanted, believing it would be safe and effective, for the entire
  duration it was implanted and upon removal.
         53.     Since 2010, the FDA has received over 1600 reports of ParaGard IUD breakage,
  with over 700 classified as serious.
         54.     Defendants failure to adequately communicate and report to the FDA the injuries
  associated with ParaGard IUD resulted in inadequate warnings.
         55.     The Cooper Defendants are also liable as successors-in-interest under the Colorado
  Uniform Fraudulent Transfer Act, C.R.S.A. § 38-8-101, et. seq., any other state or federal
  successor in interest acts or statutes; and the Federal Consumer Protection Act pursuant to a
  fraudulent conveyance or transfer of assets.
   VI.   PLAINTIFF’S USE OF PARAGARD IUD
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        56.      On information and belief, in October 23, 2009, Plaintiff was implanted with
  Defendants’ ParaGard IUD by Jyl Voss, MD.
        57.      Plaintiff, a young and healthy woman, wanted a ParaGard IUD because it was a
  reversible form of birth control that would allow her to conceive in the future.
        58.      In or about March 22, 2019, Plaintiff went to have the ParaGard IUD removed at
  Health One OBGYN Center by Lauren Kauvar, MD.
        59.      Lauren Kauvar, MD attempted to remove the ParaGard IUD as instructed by
  Defendants, by grasping the ParaGard IUD and pulling gently. Despite following the instructions
  provided by Defendants, the ParaGard IUD broke upon removal and an arm was retained in
  Plaintiff’s body.
        60.      On or about March 27, 2019, Lauren Kauvar, MD attempted to remove the
  ParaGard IUD arm via hysteroscopy at Sky Ridge Medical Center unsuccessfully.
        61.      Prior to her procedures, Plaintiff and her doctors were provided with no warning
  from the Defendants of the risk of ParaGard IUD failure and injury, nor were Plaintiff and her
  doctors provided with adequate warning of the risk of removal of ParaGard IUD. This information
  was known or knowable to the Defendants.
        62.      On information and belief, Plaintiff used the ParaGard IUD manufactured,
  packaged, marketed, sold and/or distributed by Defendants. The ParaGard IUD reached Plaintiff
  without substantial change in the drug’s condition.
        63.      On information and belief, as a direct and proximate result of using ParaGard IUD,
  Plaintiff developed serious and/or permanent adverse effects.
        64.      As a result of said injuries, Plaintiff suffered significant bodily and mental injuries,
  pain and suffering, mental anguish, disfigurement, embarrassment, inconvenience, loss of earnings
  and earning capacity, and have and will incur past and future medical expenses.
        65.      At all relevant times, each Defendant had knowledge that there was a significant
  increased risk of adverse events associated with ParaGard IUD including arm breakage, and
  despite this knowledge Defendants continued to manufacture, market, distribute, sell, and profit
  from sales of ParaGard IUD.
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         66.      The Cooper Defendants continue to manufacture, market, distribute, sell and profit
   from sales of ParaGard IUD.
         67.      Despite such knowledge, Defendants knowingly, purposely, and deliberately failed
   to adequately warn Plaintiff, patients, consumers, medical providers, and the public of the
   increased risk of serious injury associated with using ParaGard IUD.
         68.      On information and belief, Plaintiff’s prescribing physicians would not have
   prescribed ParaGard IUD to Plaintiff, would have changed the way they warned Plaintiff about the
   signs and symptoms of serious adverse effects of ParaGard IUD, and discussed with Plaintiff the
   true risks of arm breakage and resulting injuries and complications had Defendants provided said
   physicians with an appropriate and adequate warning regarding the risks associated with the use
   of ParaGard IUD.
         69.      As a direct and proximate result of Defendants’ conduct, Plaintiff suffered injuries,
   including, but not limited to, pain, suffering, and loss of reproductive health, which resulted in
   damages to Plaintiff in a sum in excess of the jurisdictional limits of the Court.
         70.      The Defendants maintained a duty to Plaintiff after the ParaGard IUD was
   implanted and until it was removed.
         71.      The Cooper Defendants are also liable as successors-in-interest under the Colorado
   Uniform Fraudulent Transfer Act, C.R.S.A. § 38-8-101, et. seq., any other state or federal
   successor in interest acts or statutes; and the Federal Consumer Protection Act pursuant to a
   fraudulent conveyance or transfer of assets.
         72.      As a direct result of Plaintiff’s use of ParaGard IUD, Plaintiff suffered from having
   a broken arm of the ParaGard IUD in her, causing her damage, including but not limited to pain,
   suffering, mental anguish, the loss of reproductive health, loss of enjoyment of life, medical
   expenses and other out of pocket losses and loss of income.
   VII. DELAYED DISCOVERY
         73.      Plaintiff incorporates by reference the factual portion of this Complaint as if fully
   set forth herein and additionally, or in the alternative, if same be necessary, allege as follows:
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         74.      Plaintiff plead that the discovery rule should be applied to toll the running of the
   statute of limitations until Plaintiff knew, or through the exercise of reasonable care and diligence
   should have known, of facts indicating that the Plaintiff had been injured, the cause of the injury
   and the tortuous nature of the wrongdoing that caused the injury.
         75.      Despite diligent investigation by Plaintiff into the cause of her injuries, including
   consultations with Plaintiff’s medical providers, the nature of Plaintiff’s injuries and damages and
   their relation to the Plaintiff’s ParaGard IUD and Defendants’ wrongful conduct was not
   discovered and could not have been discovered, until a date within the applicable statute of
   limitations for filing each of Plaintiff’s claims. Therefore, under appropriate application of the
   discovery rule, Plaintiff’s suit was filed well within the applicable statutory limitations period.
         76.      Any applicable statutes of limitations have been tolled by the knowing and active
   concealment and denial of material facts known by the Defendants when they had a duty to disclose
   those facts. The Defendants’ purposeful and fraudulent acts of concealment have kept Plaintiff
   ignorant of vital information essential to the pursuit of Plaintiff’s claims, without any fault or lack
   of diligence on Plaintiff’s part, for the purpose of obtaining delay on Plaintiff’s filing of their
   causes of action. The Defendants’ fraudulent concealment did result in such delay.
         77.      Defendants are estopped from relying on the statute of limitations defense because
   Defendants failed to timely disclose, among other things, facts evidencing the defective and
   unreasonably dangerous nature of their ParaGard IUD.
   VIII. CAUSES OF ACTION
                                      COUNT I – NEGLIGENCE

         78.      Plaintiff realleges and incorporates by reference every allegation of this Complaint

  as if each were set forth fully and completely herein.

         79.      At times relevant, Defendants were in the business of designing, developing, setting

  specifications, manufacturing, marketing, selling and/or distributing ParaGard IUD, including the

  one that was implanted into the Plaintiff.
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          80.      Defendants had a duty to exercise reasonable and ordinary care in the manufacture,

  design, labeling, instructions, warnings, sale, marketing, safety surveillance and distribution of

  ParaGard IUD so as to avoid exposing others to foreseeable and unreasonable risks of harm.

          81.      Defendants breached their duty of care to the Plaintiff and her physicians, in the

  manufacture, design, labeling, warnings, instructions, sale, marketing, safety surveillance, and

  distribution of ParaGard IUD.

          82.      Defendants knew that ParaGard IUD could break upon removal and failed to warn

  Plaintiff of this potential injury.

          83.      Defendants had a duty to warn Plaintiff, Plaintiff’s physician, and/or the medical

  community of the potential for breakage at the arm(s) upon removal.

          84.      The Cooper Defendants had a continuing duty to warn Plaintiff, Plaintiff’s

  physician, and/or the medical community of the potential for breakage at the arm(s) upon removal

  upon it’s acquisition of ParaGard IUD in September of 2017.

          85.      Defendants knew or reasonably should have known that ParaGard IUD was

  dangerous or likely to be dangerous when used in its intended or reasonably foreseeable manner.

          86.      At the time of the manufacture and sale of ParaGard IUD, Teva Defendants knew

  or should have known that ParaGard IUD was designed and manufactured in such a manner so as

  to present an unreasonable risk of the fracture of the arm of the drug upon removal.

          87.      At the time of the manufacturer and sale of ParaGard IUD, Teva Defendants knew

  or should have known that ParaGard IUD was designed and manufactured to have unreasonable

  and insufficient strength or structural integrity to withstand normal placement and subsequent

  removal.
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         88.      At the time of the manufacture and sale of ParaGard IUD, Teva Defendants knew

  or should have known that using ParaGard IUD for its intended use or in a reasonably foreseeable

  manner created a significant risk of a patient suffering severe injuries, including but not limited to

  additional surgeries and/or medical procedures in order to remove the fragmented drug, even

  leading to hysterectomy.

         89.      Upon acquisition of ParaGard IUD from Teva Defendants, Cooper Defendants are

  charged with the same knowledge that Teva Defendants knew or should have known regarding the

  risks associated with ParaGard IUD at the time of manufacture and sale, and therefore, all

  Defendants had a continuing duty to warn Plaintiff and her physicians or the general health care

  community of those reasonably known risks.

         90.      Defendants knew or reasonably should have known that the consumers of ParaGard

  IUD would not realize the danger associated with using the drug for its intended use and/or in a

  reasonably foreseeable manner.

         91.      Defendants breached their duty to exercise reasonable and prudent care in the

  development, testing, design, manufacture, inspection, marketing, labeling, promotion, distribution

  and sale of ParaGard IUD in, among others, the following ways:

                              a. Designing and distributing a product in which they knew or should

                      have known that the likelihood and severity of potential harm from the product

                      exceeded the burden of taking measures to reduce or avoid harm;

                              b. Designing and distributing a product in which they knew or should

                      have known that the likelihood and severity of potential harm from the product

                      exceeded the likelihood of potential harm from other drug available for the

                      same purpose;
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                        c. Failing to use reasonable care in manufacturing the product and

                 producing a product that differed from their design or specifications;

                        d. Failing to use reasonable care to warn or instruct Plaintiff, Plaintiff’s

                 healthcare providers or the general health care community about ParaGard

                 IUD’s substantially dangerous condition or about facts making the product

                 likely to be dangerous, including pre-and post-sale;

                        e. Failing to perform reasonable pre-and post-market testing of

                 ParaGard IUD to determine whether or not the product was safe for its intended

                 use;

                        f. Failing to provide adequate instructions, guidelines, and safety

                 precautions, to those persons to whom it was reasonably foreseeable would

                 recommend, use, implant and remove ParaGard IUD;

                        g. Advertising, marketing and recommending the use of ParaGard

                 IUD, while concealing and failing to disclose or warn of the dangers known by

                 the Defendants to be connected with and inherent in the use of ParaGard IUD;

                        h. Representing that ParaGard IUD was safe for its intended use when

                 in fact, Defendants knew and should have known the product was not safe for

                 its intended purpose;

                        i. Continuing manufacture and sale of ParaGard IUD with the

                 knowledge that the IUD was dangerous and not reasonably safe, and failing to

                 comply with the FDA good manufacturing regulations;
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                             j. Failing to use reasonable and prudent care in the design, research,

                      manufacture, and development of ParaGard IUD so as to avoid the risk of

                      serious harm associated with the use of the IUD;

                             k. Failing to establish an adequate quality assurance program used in

                      the manufacturing of ParaGard IUD;

                             l. Failing to establish and maintain an adequate post-marketing

                      surveillance program for ParaGard IUD;

                             m. Failing to adequately and correctly report safety information relative

                      to ParaGard IUD product resulting in inadequate warnings; and

                             n. Failing to provide adequate and continuous warnings about the

                      inherent danger of breakage with ParaGard IUD upon removal.

          92.     A reasonable manufacturer, distributor, and/or seller under the same or similar

   circumstances would not have engaged in the aforementioned acts and omissions.

          93.     As a proximate result of the Defendants’ design, manufacture, marketing, sale

   and/or distribution of ParaGard IUD, Plaintiff has been injured catastrophically, and sustained

   severe and permanent pain, suffering, disability, and impairment, loss of enjoyment of life, loss of

   reproductive health, comfort, and economic damages.

          94.     The Cooper Defendants are also liable as a successors-in-interest under the

   Colorado Uniform Fraudulent Transfer Act, C.R.S.A. § 38-8-101, et. seq., any other state or federal

   successor in interest acts or statutes; and the Federal Consumer Protection Act pursuant to a

   fraudulent conveyance or transfer of assets.

          WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

   for compensatory damages, for punitive damages and for costs, in an as yet unliquidated sum in
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   excess of $75,000.00, and such other relief as this Court deems just and for a trial by jury on all

   issues so triable as a matter of right.



                        COUNT II – STRICT LIABILITY DESIGN DEFECT

           95.     Plaintiff realleges and incorporates by reference every allegation of this Complaint

   as if each were set forth fully and completely herein.

           96.     ParaGard IUD is inherently dangerous and defective, unfit and unsafe for its

   intended use and reasonably foreseeable uses and does not meet or perform to the expectations of

   patients and their health care providers.

           97.     ParaGard IUD was expected to, and did, reach its intended consumer without

   substantial change in the condition in which it was in when it left Defendants’ possession.

           98.     The ParaGard IUD implanted in Plaintiff was defective in design because it failed

   to perform as safely as persons who ordinarily use the products would have expected at time of

   use.

           99.     The ParaGard IUD implanted in Plaintiff was defective in design, in that the IUD’s

   risks of harm exceeded its claimed benefits.

           100.    Plaintiff and her healthcare providers used ParaGard IUD in a manner that was

   reasonably foreseeable to the Defendants.

           101.    Neither Plaintiff nor her healthcare providers could have by the exercise of

   reasonable care discovered the IUD’s defective conditions or perceived its unreasonable dangers

   prior to her implantation of the drug.

           102.    As a result of the foregoing design defects, ParaGard IUD created risks to the

   health and safety of its users that were far more significant and devastating than the risks posed by
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   other products and procedures available to treat the corresponding medical conditions, and which

   far outweigh the utility of ParaGard IUD.

           103.    Defendants have intentionally and recklessly designed ParaGard IUD with wanton

   and willful disregard for the rights and health of the Plaintiff and others, and with malice, placing

   their economic interests above the health and safety of the Plaintiff and others.

           104.    As a proximate result of the Defendants’ design of ParaGard IUD, Plaintiff has

   been injured catastrophically, and sustained severe and permanent pain, suffering, disability, and

   impairment, loss of enjoyment of life, loss of care, comfort, and economic damages.

           105.    The Cooper Defendants are also liable as successors-in-interest under the Colorado

   Uniform Fraudulent Transfer Act, C.R.S.A. § 38-8-101, et. seq., any other state or federal

   successor in interest acts or statutes; and the Federal Consumer Protection Act pursuant to a

   fraudulent conveyance or transfer of assets.

           WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

   for compensatory damages, for punitive damages and for costs, in an as yet unliquidated sum in

   excess of $75,000.00, and such other relief as this Court deems just and for a trial by jury on all

   issues so triable as a matter of right.

                  COUNT III – STRICT LIABILITY MANUFACTURING DEFECT

           106.    Plaintiff realleges and incorporates by reference every allegation of this Complaint

   as if each were set forth fully and completely herein.

           107.    Defendants designed, set specifications, manufactured, prepared, compounded,

   assembled, processed, marketed, labeled, performed pharmacovigilance, distributed and sold the

   ParaGard IUD that was implanted into the Plaintiff.
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          108.    The ParaGard IUD implanted in Plaintiff contained a condition or conditions,

   which Defendants did not intend, at the time the ParaGard IUD left Defendants’ control and

   possession.

          109.    Plaintiff and Plaintiffs’ health care providers used the drug in a manner consistent

   with and reasonably foreseeable to Defendants.

          110.    As a result of this condition or these conditions, the product failed to perform as

   safely as the ordinary consumer would expect, causing injury, when used in a reasonably

   foreseeable manner.

          111.    ParaGard IUD was defectively and/or improperly manufactured, rendering it

   defective and unreasonably dangerous and hazardous to Plaintiff.

          112.    As a result of the manufacturing defects, ParaGard IUD creates risks to the health

   and safety of the patients that are far more significant and devastating than the risks posed by other

   products and procedures available to treat the corresponding medical conditions, and which far

   outweigh the utility of ParaGard IUD.

          113.    Defendants have intentionally and recklessly manufactured ParaGard IUD with

   wanton and willful disregard for the rights and health of the Plaintiffs and others, and with malice,

   placing their economic interests above the health and safety of the Plaintiff and others.

          114.    As a proximate result of the Defendants’ manufacture of ParaGard IUD, Plaintiff

   has been injured catastrophically, and sustained severe and permanent pain, suffering, disability,

   and impairment, loss of enjoyment of life, loss of care, comfort, and economic damages.

          115.    The Cooper Defendants are also liable as successors-in-interest under the Colorado

   Uniform Fraudulent Transfer Act, C.R.S.A. § 38-8-101, et. seq., any other state or federal
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   successor in interest acts or statutes; and the Federal Consumer Protection Act pursuant to a

   fraudulent conveyance or transfer of assets.

           WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

   for compensatory damages, for punitive damages and for costs, in an as yet unliquidated sum in

   excess of $75,000.00, and such other relief as this Court deems just and for a trial by jury on all

   issues so triable as a matter of right.



                     COUNT IV – STRICT LIABILITY FAILURE TO WARN

           116.    Plaintiff realleges and incorporates by reference every allegation of this Complaint

   as if each were set forth fully and completely herein.

           117.    Defendants designed, set specifications, manufactured, prepared, compounded,

   assembled, processed, marketed, labeled, distributed and sold ParaGard IUD, including the one

   implanted into Plaintiff, into the stream of commerce and in the course of same, directly advertised

   and marketed the drug to consumers or persons responsible for consumers.

           118.    At the time Defendants designed set specifications, manufactured, prepared,

   compounded, assembled, processed, marketed, labeled, distributed and sold ParaGard IUD into

   the stream of commerce, Defendants knew or should have known that the drug presented an

   unreasonable danger to users of the product when put to its intended and reasonably anticipated

   use.

           119.    Specifically, Defendants knew or should have known that ParaGard IUD posed a

   significant risk that one of the arms of the drug could break upon removal, resulting in significant

   injuries.
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           120.    Defendants had a duty to warn of the risk of harm associated with the use of the

   drug and to provide adequate warnings concerning the risk the drug could break upon removal,

   even if implanted properly and even if the drug remained properly in-place.

           121.    The Cooper Defendants had a continuing duty to warn Plaintiff, Plaintiff’s

   physician, and/or the medical community of the potential for breakage at the arm(s) upon removal

   upon it’s acquisition of ParaGard IUD in September of 2017.

           122.    Defendants failed to properly and adequately warn and instruct the Plaintiff and her

   health care providers with regard to the inadequate research and testing of ParaGard IUD, and the

   complete lack of a safe, effective procedure for removal of ParaGard IUD.

           123.    The risks associated with ParaGard IUD are of such a nature that health care

   providers and users could not have recognized the potential harm.

           124.    ParaGard IUD was defective and unreasonably dangerous at the time of its release

   into the stream of commerce due to the inadequate warnings, labeling and/or instructions

   accompanying the product, including but not limited to, the implantation and subsequent removal

   of ParaGard IUD.

           125.    The ParaGard IUD, when implanted in Plaintiff, was in the same condition as when

   it was manufactured, inspected, marketed, labeled, promoted, distributed and sold by the

   Defendants.

           126.    The Defendants intentionally, recklessly, and maliciously misrepresented the

   safety, risks, and benefits in order to advance their own financial interests, with wanton and willful

   disregard for the rights and health of the Plaintiff.

           127.    As a proximate result of the Defendants’ design, manufacture, marketing, sale

   and/or distribution of ParaGard IUD, Plaintiff has been injured catastrophically, and sustained
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   severe and permanent pain, suffering, disability, and impairment, loss of enjoyment of life, loss of

   reproductive health, comfort, and economic damages.

           128.    The Cooper Defendants are also liable as successors-in-interest under the Colorado

   Uniform Fraudulent Transfer Act, C.R.S.A. § 38-8-101, et. seq., any other state or federal

   successor in interest acts or statutes; and the Federal Consumer Protection Act pursuant to a

   fraudulent conveyance or transfer of assets.

           WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

   for compensatory damages, for punitive damages and for costs, in an as yet unliquidated sum in

   excess of $75,000.00, and such other relief as this Court deems just and for a trial by jury on all

   issues so triable as a matter of right.

                                 COUNT V – COMMON LAW FRAUD

           129.    Plaintiff realleges and incorporates by reference every allegation of this Complaint

   as if each were set forth fully and completely herein.

           130.    The Defendants have falsely and fraudulently represented and continue to represent

   to the medical and healthcare community, Plaintiff and her physicians, and/or the public that

   ParaGard IUD had been appropriately tested and was found to be safe and effective.

           131.    The representations made by the Defendants were, in fact, false. When the

   Defendants made their representations, they knew and/or had reason to know that those

   representations were false, and they willfully, wantonly, and recklessly disregarded the

   inaccuracies in their representations and the dangers and health risks to users of ParaGard IUD.

           132.    These representations were made by the Defendants with the intent of defrauding

   and deceiving the medical community, Plaintiff, and the public, and also inducing the medical

   community, Plaintiff, Plaintiff’s physicians, and/or the public, to recommend, prescribe, dispense,
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   and purchase ParaGard IUD for use as a form of long-term birth control, all of which evidenced a

   callous, reckless, willful, and depraved indifference to the health, safety, and welfare of Plaintiff.

          133.    In representations to Plaintiff and/or to her healthcare providers, the Defendants

   fraudulently concealed and intentionally omitted the following material information:

                  a. That ParaGard IUD was not as safe as other products and procedures available

                      to aid in the long-term prevention of pregnancy;

                  b. That the risk of adverse events with ParaGard IUD was higher than with other

                      products and procedures available for birth control;

                  c. ParaGard IUD was not adequately tested;

                  d. That the limited clinical testing for ParaGard IUD revealed a higher risk of

                      adverse events, above and beyond those associated with other products and

                      procedures available for birth control;

                  e. That Defendants deliberately failed to follow up on the adverse results from

                      clinical studies and/or formal and informal reports from physicians and/or other

                      healthcare providers and either ignored, concealed and/or misrepresented those

                      findings;

                  f. That Defendants were aware of dangers in ParaGard IUD in addition to and

                      above and beyond those associated with other products and procedures

                      available for birth control;

                  g. That ParaGard IUD was defective, and that it caused dangerous and adverse

                      side effects, including but not limited to unacceptable incidence of breakage

                      upon removal;
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                  h.   That when ParaGard IUD needed to be removed, the removal procedure had a

                       very high failure rate and/or needed to be performed repeatedly;

                  i. That ParaGard IUD was manufactured negligently;

                  j. That ParaGard IUD was manufactured defectively; and

                  k. That ParaGard IUD was designed negligently and designed defectively.

          134.    The Defendants were under a duty to disclose to Plaintiff and her physicians, the

   defective nature of ParaGard IUD, including but not limited to, the risk of breakage prior to and

   upon removal, which could result in permanent injury.

          135.    The Defendants had sole access to material facts concerning the defective nature of

   the products and their propensity to cause serious and dangerous side effects and hence, cause

   dangerous injuries and damage to persons who used ParaGard IUD, such as Plaintiff.

          136.    The Defendants’ concealment and omissions of material facts concerning the safety

   of ParaGard IUD were made purposefully, willfully, wantonly, and/or recklessly to mislead

   Plaintiff, Plaintiff’s physicians, surgeons and healthcare providers and to induce them to purchase,

   prescribe, and/or dispense ParaGard IUD; and/or to mislead them into reliance upon and cause

   them to use ParaGard IUD.

          137.    At the time these representations were made by Defendants, and at the time Plaintiff

   and/or her physicians, used ParaGard IUD, Plaintiff and/or her physicians were unaware of the

   falsehood of these representations, and reasonably believed them to be true.

          138.    The Defendants knew and had reason to know that ParaGard IUD could and would

   cause severe and grievous personal injury to the users of the product and was inherently dangerous

   in a manner that exceeded any purported, inaccurate, or otherwise downplayed warnings.
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          139.    In reliance upon these false representations, Plaintiff and her physicians were

   induced to, and did use ParaGard IUD, thereby causing severe and permanent personal injuries

   and damages to Plaintiff. The Defendants knew or had reason to know that the Plaintiff and her

   physicians and other healthcare providers had no way to determine the truth behind the

   Defendants’ concealment and omissions, and that these included material omissions of facts

   surrounding the use of ParaGard IUD, as described in detail herein.

          140.    Plaintiff and her physicians reasonably relied on facts provided by the Defendants

   which foreseeably and purposefully suppressed and concealed facts that were critical to

   understanding the real dangers inherent to the use of ParaGard IUD.

          141.    Having knowledge based on the Defendants research and testing, or lack thereof,

   Defendants blatantly and intentionally distributed false information, including but not limited to

   assurances to Plaintiff, the public, and Plaintiff’s healthcare providers and physicians, that

   ParaGard IUD was safe for use as a means of providing long-term birth control and was as safe or

   safer than other product and/or procedures available and/or on the market. As a result of

   Defendants’ research and testing, or lack thereof, these Defendants intentionally omitted,

   concealed and suppressed the dissemination of certain results of testing and research to healthcare

   professionals, Plaintiff, her physicians, and the public at large.

          142.    The Defendants had a duty when disseminating information to the public to

   disseminate truthful information; and a parallel duty not to deceive the public, Plaintiff, and/or her

   physicians.

          143.    The information distributed to the public, the medical community, Plaintiff and her

   physicians by the Defendants included, but was not limited to websites, information presented at

   medical and professional meetings, information disseminated by sales representatives to
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   physicians and other medical care providers, professional literature, reports, press releases,

   advertising campaigns, television commercials, print advertisements, and/or other commercial

   media, and contained material representations which were false and misleading, as well as

   omissions and concealments of the truth about the dangers of the use of ParaGard IUD.

          144.    These representations, and others made by the Defendants, were false when made

   and/or were made with the pretense of actual knowledge when such knowledge did not actually

   exist, and were made recklessly and without regard to the true facts.

          145.    The Defendants recklessly and/or intentionally falsely represented the dangerous

   and serious health and safety concerns inherent in the use of ParaGard IUD to Plaintiff, her

   physicians and the public at large, for the purpose of influencing the sales of products known to

   be dangerous and defective, and/or not as safe as other alternatives.

          146.    At the time the representations were made, Plaintiff and her healthcare providers

   did not know the truth about the dangers and serious health and/or safety risks inherent in the use

   of ParaGard IUD.

          147.    Plaintiff did not discover the true facts about the dangers and serious health and/or

   safety risks, nor did Plaintiff discover the false representations of the Defendants, nor would

   Plaintiff with reasonable diligence have discovered the true facts about the Defendant’s

   misrepresentations at the time when the ParaGard IUD was surgically implanted into her.

          148.    Had Plaintiff known the true facts about the dangers and serious health and/or safety

   risks of ParaGard IUD, neither Plaintiff nor her physician would not have purchased, used, or

   relied on Defendants’ representations and omissions concerning ParaGard IUD.

          149.    As a proximate result of the Defendants’ design, manufacture, marketing, sale

   and/or distribution of ParaGard IUD, Plaintiff has been seriously injured, and sustained severe and
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   permanent injury, pain, suffering, disability, and impairment, loss of enjoyment of life, loss of

   reproductive health, comfort, and economic damages.

           150.    The Cooper Defendants are also liable as successors-in-interest under the Colorado

   Uniform Fraudulent Transfer Act, C.R.S.A. § 38-8-101, et. seq., any other state or federal

   successor in interest acts or statutes; and the Federal Consumer Protection Act pursuant to a

   fraudulent conveyance or transfer of assets.

           WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

   for compensatory damages, for punitive damages and for costs, in an as yet unliquidated sum in

   excess of $75,000.00, and such other relief as this Court deems just and for a trial by jury on all

   issues as triable as a matter of right.

                        COUNT VI – NEGLIGENT MISREPRESENTATION

           151.    Plaintiff realleges and incorporates by reference every allegation of this Complaint

   as if each were set forth fully and completely herein.

           152.    At relevant times, Defendants negligently provided Plaintiff, her healthcare

   providers, and the general medical community with false or incorrect information or omitted or

   failed to disclose material information concerning ParaGard IUD, including, but not limited to,

   misrepresentations regarding the safety of ParaGard IUD.

           153.    The information distributed by the Defendants to the public, the medical

   community, the Plaintiff and her healthcare providers, including advertising campaigns, labeling

   materials, print advertisements, commercial media, was false and misleading and contained

   omissions and concealment of truth about the dangers of ParaGard IUD.

           154.    Defendants’ intent and purpose in making these misrepresentations was to deceive

   and defraud the public and the medical community, including Plaintiff and Plaintiffs’ health care
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   providers; to falsely assure them of the quality of ParaGard IUD and the induce the public and

   medical community, including Plaintiff and her healthcare provider to request, recommend,

   prescribe, implant, purchase and continue to use ParaGard IUD.

          155.    The Defendants had a duty to accurately and truthfully represent to the medical and

   healthcare community, medical drug manufacturers, Plaintiff, her healthcare providers and the

   public, that ParaGard IUD had been tested and found to be safe and effective for long term birth

   control.

          156.    The representations made by the Defendants were, in fact, false. ParaGard IUD was

   not safe for human use in its intended and reasonably foreseeable manner. Use of ParaGard IUD

   is dangerous as there is a risk that it may fracture upon removal cause significant injury.

          157.    In reliance upon the false and negligent misrepresentations and omissions made by

   the Defendants, Plaintiff and Plaintiff’s healthcare providers were induced to, and did use

   ParaGard IUD, thereby causing Plaintiff to endure severe and permanent injuries.

          158.    Defendants knew and had reason to know that the Plaintiff, Plaintiff’s healthcare

   providers, and the general medical community did not have the ability to determine the true facts

   which were intentionally and/or negligently concealed and misrepresented by the Defendants.

          159.    Plaintiff and her healthcare providers would not have recommended, and implanted

   ParaGard IUD had the true facts not been concealed by the Defendants.

          160.    Defendants had sole access to the material facts concerning the defective nature of

   ParaGard IUD and its propensity to cause serious and dangerous side injuries.

          161.    At the time Defendants failed to disclose and misrepresented the foregoing facts,

   and at the time Plaintiff was implanted with ParaGard IUD, Plaintiff and her healthcare providers

   were unaware of Defendants’ negligent misrepresentations and omissions.
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              162.   The Defendants failed to exercise ordinary care in making representations

   concerning ParaGard IUD while they were involved in their manufacture, sale, testing, quality

   assurance, quality control, and distribution in interstate commerce, because the Defendants

   negligently misrepresented ParaGard IUD’s high risk of unreasonable and dangerous adverse side

   effects.

              163.   The Defendants breached their duty to Plaintiff, her physicians, and the medical

   and healthcare community, by representing that ParaGard IUD has no serious side effects different

   from older generations of similar products or procedures.

              164.   Plaintiff and Plaintiff’s healthcare providers reasonably relied upon the

   misrepresentations and omissions made by the Defendants, where they concealed and

   misrepresented facts that were critical to understanding the true dangers inherent in the use of

   ParaGard IUD.

              165.   Plaintiff and Plaintiff’s healthcare providers’ reliance on the foregoing

   misrepresentations and omissions was the direct and proximate cause of Plaintiffs injuries.

              166.   The Defendants knew, and had reason to know, that ParaGard IUD had been

   insufficiently tested, or had not been tested at all, that the products lacked adequate and accurate

   warnings, that they created a high risk, and/or higher than acceptable risk, and/or higher than

   reported risk that they represented a risk of adverse side effects, including, pain and suffering,

   surgery to remove the product, and other severe and personal injuries, which are permanent and

   lasting in nature.

              167.   As a proximate result of the Defendants’ design, manufacture, marketing, sale

   and/or distribution of ParaGard IUD, Plaintiff has been injured catastrophically, and sustained
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   severe and permanent pain, suffering, disability, and impairment, loss of enjoyment of life, loss of

   reproductive health, comfort, and economic damages.

           168.    The Cooper Defendants are also liable as successors-in-interest under the Colorado

   Uniform Fraudulent Transfer Act, C.R.S.A. § 38-8-101, et. seq., any other state or federal

   successor in interest acts or statutes; and the Federal Consumer Protection Act pursuant to a

   fraudulent conveyance or transfer of assets.

           WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

   for compensatory damages, for punitive damages and for costs, in an as yet unliquidated sum in

   excess of $75,000.00, and such other relief as this Court deems just and for a trial by jury on all

   issues as triable as a matter of right.

                        COUNT VII – BREACH OF EXPRESS WARRANTY

           169.    Plaintiff realleges and incorporates by reference every allegation of this Complaint

   as if each were set forth fully and completely herein.

           170.    At relevant times, Defendants intended that ParaGard IUD be used in the manner

   that Plaintiff used it and Defendants expressly warranted that each product was safe and fit for use

   by consumers, that it was of merchantable quality, that its side effects were minimal and

   comparable to other treatments for long-term birth control, and that they were adequately tested

   and fit for their intended use.

           171.    At relevant times, Defendants were aware that consumers, including Plaintiff,

   would use ParaGard IUD; which is to say that Plaintiff was a foreseeable user of ParaGard IUD.

           172.    Plaintiff and/or her implanting physicians were, at all relevant times, in privity with

   the Defendants.
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          173.    ParaGard IUD was expected to reach and did in fact reach its ultimate consumer,

   including Plaintiff and her implanting physicians, without substantial change in the condition in

   which it was manufactured and sold by the Defendants.

          174.    The Defendants breached various express warranties with respect to ParaGard IUD

   including the following particulars:

                  l. The Defendants represented to Plaintiff and her physicians and healthcare

                      providers through their labeling, advertising, marketing materials, detail

                      persons, seminar presentations, publications, notice letters, and regulatory

                      submissions that ParaGard IUD was safe, and fraudulently withheld and

                      concealed information about the substantial risks of serious injury associated

                      with using ParaGard IUD;

                  m. The Defendants represented to Plaintiff and her physicians and healthcare

                      providers that ParaGard IUD was as safe, and/or safer than other alternative

                      procedures and drugs and fraudulently concealed information, which

                      demonstrated that ParaGard IUD was not safer than alternatives available on

                      the market; and

                  n. The Defendants represented to Plaintiff and her physicians and healthcare

                      providers that ParaGard IUD was more efficacious than other alternatives and

                      fraudulently concealed information regarding the true efficacy of the products.

          175.    In reliance upon the Defendants’ express warranties, Plaintiff was implanted with

   ParaGard IUD as prescribed and directed, and therefore, in the foreseeable manner normally

   intended, recommended, promoted, and marketed by the Defendants.
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           176.    At the time of making such express warranties, the Defendants knew or should have

   known that ParaGard IUD does not conform to these express representations because ParaGard

   IUD was not safe and had numerous side effects, many of which the Defendants did not accurately

   warn about, thus making ParaGard IUD unreasonably unsafe for its intended purpose.

           177.    Members of the medical community, including physicians and other healthcare

   professionals, as well as Plaintiff and her physicians, relied upon the representations and warranties

   of the Defendants in connection with use, recommendation, description, and/or dispensing of

   ParaGard IUD.

           178.    The Defendants breached their express warranties to Plaintiff in that ParaGard IUD

   was not of merchantable quality, safe and/or fit for its intended uses, nor was it adequately tested.

           179.    As a proximate result of the Defendants’ design, manufacture, marketing, sale

   and/or distribution of ParaGard IUD, Plaintiff has been injured catastrophically, and sustained

   severe and permanent pain, suffering, disability, and impairment, loss of enjoyment of life, loss of

   reproductive health, comfort, and economic damages.

           180.    The Cooper Defendants are also liable as successors-in-interest under the Colorado

   Uniform Fraudulent Transfer Act, C.R.S.A. § 38-8-101, et. seq., any other state or federal

   successor in interest acts or statutes; and the Federal Consumer Protection Act pursuant to a

   fraudulent conveyance or transfer of assets.

           WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

   for compensatory damages, for punitive damages and for costs, in an as yet unliquidated sum in

   excess of $75,000.00, and such other relief as this Court deems just and for a trial by jury on all

   issues as triable as a matter of right.

                        COUNT VIII – BREACH OF IMPLIED WARRANTY
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          181.    Plaintiff realleges and incorporates by reference every allegation of this Complaint

   as if each were set forth fully and completely herein.

          182.    At relevant and material times, Defendants manufactured, distributed, advertised,

   promoted, and sold ParaGard IUD.

          183.    At relevant times, Defendants intended that ParaGard IUD be implanted for the

   purposes, and in the manner, that Plaintiff or her physicians or surgeons used it and the Defendants

   impliedly warranted each ParaGard IUD to be of merchantable quality, safe and fit for such use,

   and to have been adequately tested.

          184.    Defendants were aware that consumers, including Plaintiff or her physicians or

   surgeons would implant ParaGard IUD in the manner described by the instructions for use and that

   Plaintiff was the foreseeable user of ParaGard IUD.

          185.    Plaintiff and/or her physicians and surgeons were at all relevant times in privity

   with Defendants.

          186.    The Defendants’ ParaGard IUD was expected to reach and did in fact reach

   consumers, including Plaintiff and/or her physicians and surgeons, without substantial change in

   the condition in which they manufactured and sold by Defendants.

          187.    Defendants breached various implied warranties with respect to ParaGard IUD,

   including the following particulars:

                  a. Defendants represented through their labeling, advertising, marketing

                      materials, detail persons, seminar presentations, publications, notice letters,

                      medical literature, and regulatory submissions that ParaGard IUD was safe and

                      fraudulently withheld and concealed information about the substantial risks of

                      serious injury associated with using ParaGard IUD;
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                  b. Defendants represented that ParaGard IUD was safe, and/or safer than other

                      alternative drugs or procedures and fraudulently concealed information, which

                      demonstrated that ParaGard IUD was not as safe or safer than alternatives

                      available on the market; and

                  c. Defendants represented that ParaGard IUD was more efficacious than other

                      alternative treatments and fraudulently concealed information, regarding the

                      true efficacy of ParaGard IUD.

          188.    In reliance upon Defendants’ implied warranties, Plaintiff and/or her implanting

   physicians and surgeons used ParaGard IUD as prescribed in the foreseeable manner normally

   intended, recommended, promoted, and marketed by Defendants.

          189.    Defendants breached their implied warranties to Plaintiff and/or her implanting

   physicians and surgeons in that ParaGard IUD was not of merchantable quality, safe and fit for its

   intended use, or adequately tested, in violation of common law principles.

          190.    As a proximate result of the Defendants’ design, manufacture, marketing, sale

   and/or distribution of ParaGard IUD, Plaintiff has been injured catastrophically, and sustained

   severe and permanent pain, suffering, disability, and impairment, loss of enjoyment of life, loss of

   reproductive health, comfort, and economic damages.

          191.    The Cooper Defendants are also liable as successors-in-interest under the Colorado

   Uniform Fraudulent Transfer Act, C.R.S.A. § 38-8-101, et. seq., any other state or federal

   successor in interest acts or statutes; and the Federal Consumer Protection Act pursuant to a

   fraudulent conveyance or transfer of assets.

          WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

   for compensatory damages, for punitive damages and for costs, in an as yet unliquidated sum in
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   excess of $75,000.00, and such other relief as this Court deems just and for a trial by jury on all

   issues as triable as a matter of right.



               COUNT IX – VIOLATION OF CONSUMER PROTECTION LAWS

           192.    Plaintiff realleges and incorporates by reference every allegation of this Complaint

   as if each were set forth fully and completely herein.

           193.    Plaintiff purchased and used ParaGard IUD primarily for personal use thereby

   suffering ascertainable losses, as a result of the Defendants’ actions in violation of the consumer

   protection laws.

           194.    Had the Defendants not engaged in the deceptive conduct described herein, Plaintiff

   and her physicians would not have purchased and/or paid for ParaGard IUD and would not have

   incurred related medical costs and injury.

           195.    The Defendants engaged in wrongful conduct while at the same time obtaining,

   under false pretenses, moneys from Plaintiff for ParaGard IUD, that was implanted into her, and

   that would not have been paid for had the Defendants not engaged in unfair and deceptive conduct.

           196.    Unfair methods of competition of deceptive acts or practices that were proscribed

   by law, including the following:

                   a. Representing that goods or services have characteristics, ingredients, uses

                       benefits or quantities that they do not have;

                   b. Advertising goods or services with the intent not to sell them as advertised; and

                   c. Engaging in fraudulent or deceptive conduct that creates a likelihood of

                       confusion and/or misunderstanding.
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          197.      Plaintiff was injured by the cumulative and indivisible nature of the Defendants’

   conduct. The cumulative effect of the Defendants’ conduct directed at patients, physicians and

   consumers, including the Plaintiff and her physicians, was to create demand for and promote the

   sale of ParaGard IUD. Each aspect of the Defendants’ conduct combined to artificially create sales

   of ParaGard IUD.

          198.      The Defendants have a statutory duty to refrain from unfair or deceptive acts or

   trade practices in the design, labeling, development, manufacture, promotion, and sale of ParaGard

   IUD.

          199.      Had the Defendants not engaged in the deceptive conduct described above, Plaintiff

   would not have purchased and/or paid for ParaGard IUD, and would not have incurred related

   medical costs.

          200.      The Defendants’ deceptive, unconscionable, or fraudulent representations and

   material omissions to patients, physicians and consumers, including Plaintiff and her physicians,

   constituted unfair and deceptive acts and trade practices in violation of the state and Federal

   consumer protection statutes.

          201.      The Defendants’ actions, as complained of herein, constitute unfair competition or

   unfair, unconscionable, deceptive or fraudulent acts, or trade practices in violation of state and

   Federal consumer protection statutes, including but not limited to the Colorado Consumer

   Protection Act, C.R.S.A., § 6-1-101, et. seq.

          202.      The Defendants have engaged in unfair competition or unfair or deceptive acts or

   trade practices or have made false representations in violation under the statute listed above to

   protect consumers against unfair, deceptive, fraudulent and unconscionable trade and business

   practices and false advertising, the Defendants are the suppliers, manufacturers, advertisers, and
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   sellers, who are subject to liability under such legislation for unfair, deceptive, fraudulent and

   unconscionable consumer sales practices.

          203.    The Defendants engaged in fraudulent behavior regarding the transfer and/or sale

   of assets to Cooper Defendants in 2017. Cooper Defendants knew or should have reasonably

   known that the transfer of assets was done in a manner consistent with and in an effort to, deceive

   potential creditors.

          204.    Pursuant to the terms of the asset purchase agreement, Teva Women’s Health, Inc.,

   claims to maintain liability for all ParaGard IUD placed prior to the execution of the asset purchase

   agreement in September of 2017. However, Teva Women’s Health, Inc., converted to Teva

   Women’s Health, LLC and sold off all of its assets.

          205.    Cooper Defendants knew or reasonably should have known that Teva Defendants

   converted Teva Women’s Health, Inc., into Teva Women’s Health, LLC after selling off or moving

   all assets from Teva Women’s Health, Inc.

          206.    Therefore, Cooper Defendants knew or reasonably should have known that Teva

   Defendants shuffling of assets and subsequent conversions were done to thwart potential creditors

   in violation of the Colorado Consumer Protection Act, C.R.S.A., § 6-1-101, et. seq. and Federal

   consumer protection laws.

          207.    The Defendants violated the statutes that were enacted to protect consumers against

   unfair, deceptive, fraudulent and unconscionable trade and business practices and false advertising,

   by knowingly and falsely representing that ParaGard IUD was fit to be used for the purpose for

   which it was intended, when in fact it was defective and dangerous, and by other acts alleged

   herein. These representations were made in uniform promotional materials and product labeling.
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          208.    The actions and omissions of the Defendants alleged herein are uncured or

   incurable deceptive acts under the statutes enacted in the states to protect consumers against unfair,

   deceptive, fraudulent and unconscionable trade and business practices and false advertising.

          209.    The Defendants had actual knowledge of the defective and dangerous condition of

   ParaGard IUD and failed to take any action to cure such defective and dangerous conditions.

          210.    Plaintiff and her implanting physicians and surgeons relied upon the Defendants’

   misrepresentations and omissions in determining which product and/or procedure to undergo

   and/or perform.

          211.    The Defendants’ deceptive, unconscionable or fraudulent representations and

   material omissions to patients, physicians and consumers, constitute unfair and deceptive acts and

   practices.

          212.    By reason of the unlawful acts engaged by the Defendants, and as a direct and

   proximate result thereof, Plaintiff has suffered ascertainable losses and damages.

          213.    As a proximate result of the Defendants’ design, manufacture, marketing, sale

   and/or distribution of ParaGard IUD, Plaintiff has been injured catastrophically, and sustained

   severe and permanent pain, suffering, disability, and impairment, loss of enjoyment of life, loss of

   reproductive health, comfort, and economic damages.

          214.    The Cooper Defendants are also liable as successors-in-interest under the Colorado

   Uniform Fraudulent Transfer Act, C.R.S.A. § 38-8-101, et. seq., any other state or federal

   successor in interest acts or statutes; and the Federal Consumer Protection Act pursuant to a

   fraudulent conveyance or transfer of assets.

          WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

   for compensatory damages, for punitive damages and for costs, in an as yet unliquidated sum in
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   excess of $75,000.00, and such other relief as this Court deems just and for a trial by jury on all

   issues as triable as a matter of right.

                                  COUNT X – GROSS NEGLIGENCE

           215.    Plaintiff realleges and incorporates by reference every allegation of this Complaint

   as if each were set forth fully and completely herein.

           216.    The wrongs done by the Defendants were aggravated by the kind of malice, fraud,

   and grossly negligent disregard for the rights of others, the public, and Plaintiff , for which the law

   would allow, and which Plaintiff will seek at the appropriate time under governing law for the

   imposition of exemplary damages, in that Defendants’ conduct was specifically intended to cause

   substantial injury to Plaintiff; or when viewed objectively from Defendants’ standpoint at the time

   of the conduct, involved an extreme degree of risk, considering the probability and magnitude of

   the potential harm to others, and Defendants were actually, subjectively aware of the risk involved,

   but nevertheless proceeded with conscious indifference to the rights, safety, or welfare of others;

   or included material representations that were false, with Defendants, knowing that they were false

   or with reckless disregard as to the truth and as a positive assertion, with the intent that the

   representation is acted on by Plaintiff.

           217.    Plaintiff and her physicians relied on the representations of Defendants and suffered

   injury as a proximate result of this reliance.

           218.    Plaintiff therefore will seek to assert claims for exemplary damages at the

   appropriate time under governing law in an amount within the jurisdictional limits of the Court.

           219.    Plaintiff also alleges that the acts and omissions of Defendants, whether taken

   singularly or in combination with others, constitute gross negligence that proximately caused that

   injuries to Plaintiff. In that regard, Plaintiff will seek exemplary damages in an amount that would
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   punish Defendants for their conduct and which would deter other manufacturers from engaging in

   such misconduct in the future.

           220.    The Cooper Defendants are also liable as successors-in-interest under the Colorado

   Uniform Fraudulent Transfer Act, C.R.S.A. § 38-8-101, et. seq., any other state or federal

   successor in interest acts or statutes; and the Federal Consumer Protection Act pursuant to a

   fraudulent conveyance or transfer of assets.

           WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

   for compensatory damages, for punitive damages and for costs, in an as yet unliquidated sum in

   excess of $75,000.00, and such other relief as this Court deems just and for a trial by jury on all

   issues as triable as a matter of right.

                                  COUNT XI – PUNITIVE DAMAGES

           221.    Plaintiff incorporates by reference each and every allegation contained in the

   preceding paragraphs as though fully set forth herein.

           222.    At times material hereto, Defendants knew or should have known that their

   ParaGard IUD, as designed, manufactured, assembled, sold and/or distributed was inherently

   dangerous.

           223.    At times material hereto, Defendants attempted to misrepresent and did

   misrepresent facts concerning the safety of their ParaGard IUD.

           224.    Defendants’ misrepresentations included knowingly withholding material

   information from the public and consumers alike, including Plaintiff, concerning the safety of

   ParaGard IUD.
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           225.    At times material hereto, Defendants knew and recklessly disregarded the fact

   that their ParaGard IUD could cause serious, disabling, and permanent injuries to individuals

   such as Plaintiff.

           226.    Notwithstanding the foregoing, Defendants continued to aggressively market

   and promote their ParaGard IUD, without disclosing the risks.

           227.    As a proximate result of Defendants’ willful, wanton, careless, reckless,

   conscious, and deliberate disregard for the rights and safety of their consumers, Plaintiff

   suffered severe and permanent physical and emotional injuries, endured pain and suffering,

   and has suffered economic loss, including incurring significant expenses for medical care and

   treatment, and will continue to incur such expenses in the future.

           228.    Defendants’ aforesaid conduct was committed with knowing, conscious,

   careless, reckless, willful, wanton, and deliberate disregard for the rights and safety of

   consumers, including Plaintiff, thereby entitling Plaintiff to punitive damages in an amount

   appropriate to punish Defendants and deter them from similar conduct in the future.

           229.    The Cooper Defendants are liable as successors-in-interest under the Colorado

   Uniform Fraudulent Transfer Act, C.R.S.A. § 38-8-101, et. seq., any other state or federal

   successor in interest acts or statutes; and the Federal Consumer Protection Act pursuant to a

   fraudulent conveyance or transfer of assets.

           WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

   for compensatory damages, for punitive damages and for costs, in an as yet unliquidated sum in

   excess of $75,000.00, and such other relief as this Court deems just and for a trial by jury on all

   issues as triable as a matter of right.

                                         PRAYER FOR RELIEF
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          So far as the law and this Court allows, Plaintiff demands judgment against each
   Defendant on each count as follows:
                 a.       All available compensatory damages for the described losses with respect
                          to each cause of action;
                 b.       Past and future medical expenses, as well as the cost associated with past
                          and future life care;
                 c.       Past and future lost wages and loss of earning capacity;
                 d.       Past and future emotional distress;
                 e.       Consequential damages;
                 f.       All available noneconomic damages, including without limitation pain,
                          suffering, and loss of enjoyment of life;
                 g.       Punitive damages with respect to each cause of action;
                 h.       Reasonable attorneys' fees where recoverable;
                 i.       Costs of this action;
                 j.       Pre-judgment and all other interest recoverable; and
                 k.       Such other additional, further, and general relief as Plaintiff may be
                          entitled to in law or in equity as justice so requires.


                                         DEMAND FOR JURY TRIAL

          Plaintiff hereby demands a trial by jury as to all issues.

   Dated: March 3, 2021                              By:    /s/ Randi Kassan
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